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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

DANIEL BRUNO, individually and on behalf
                                   §
Of others similarly situated,      §
                       Plaintiff,  §
                                   §
vs.                                §                    CIVIL ACTION NO. 18-mc-00774-LY
                                   §
EQUIFAX INFORMATION SERVICES, LLC, §
GENEVA FINANCIAL SERVICES, INC.,   §
JOHN MCGINLEY, ANDY MITCHELL and §
REBS SUPPLY, INC.,                 §
                Defendant.         §


                        CORRECTED CERTIFICATE OF SERVICE




I hereby certify that on the 11th day of September, 2018, I electronically filed Plaintiff’s Motion
to Compel RMB Worldwide’s Compliance with Third Party Subpoenas with the Clerk of Court
using the CM/ECF system; and, at that time, did not serve David Bailey as I had been informed
that a Summons on Mr. Bailey would be required;

Having now learned that a Summons is not required, I hereby certify that on the 18th day of
September, 2018, I served Plaintiff’s Motion to Compel RMB Worldwide’s Compliance with
Third Party Subpoenas by regular and certified mail, return receipt requested to the following:

RMB World Enterprises, LLC
c/o David Bailey
706 Rio Grande Street
Austin, TX 78701


I did not re-send the Motion to the other parties as they have been previously notified.


                                                     //s// Keith Wier
                                                     Keith Wier
